Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 1 of 6




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Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 2 of 6
Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 3 of 6
Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 4 of 6
Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 5 of 6
Case 3:16-md-02741-VC Document 15973-14 Filed 12/14/22 Page 6 of 6
